
In re: Jack Leblanc, Jr., applying for writs of certiorari, prohibition, mandamus and stay order. Parish of Lafayette.
Granted.
The petition of the relator in the above entitled and numbered case having been duly considered, it is ordered that a writ of certiorari issue herein, directing the Honorable Peter C. Piccione, Jr., Judge Ad Hoc of the Lafayette City, Court for the Parish of Lafayette, to transmit to the Supreme Court of Louisiana, on or before the 6th day of October, 1978, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained. It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on a date to be fixed by this court at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
